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                                                              November 5, 2020
Hon. Gregory H. Woods                                             USDC SDNY
United States District Judge                                      DOCUMENT
Southern District of New York                                     ELECTRONICALLY FILED
500 Pearl Street                                                  DOC #:
                                                                  DATE FILED: 11/9/2020
New York, NY 10007

Re: United States v. Jose Reyes, 19-Cr-306(GHW)
                                                                MEMORANDUM ENDORSED
Dear Judge Woods:

        I write to respectfully request a sixty-day adjournment for Mr. Reyes’ sentencing hearing
currently scheduled for November 23, 2020 due to the current COVID-19 pandemic. AUSA
Cecilia Vogel has consented to the adjournment.

        Mr. Reyes is currently living in Houston, Texas, which is experiencing an increase in the
uncontrolled spread of the coronavirus as of late. Cases on a national scale have increased by fifty-
one percent in the past two weeks with Texas currently on the list of states where cases are high
and remaining higher. 1 With 10,631 new cases reported yesterday alone, traveling from Texas
would expose Mr. Reyes to the significant risk of contracting the virus and mandate that Mr. Reyes
be subject to a 14-day quarantine per Governor Cuomo’s executive order. 2 Given the clear risks
of traveling from Houston to New York City in the midst of the pandemic, we respectfully request
a sixty-day adjournment. Thank you for your consideration of this request.

                                                              Sincerely,



Application granted. The sentencing hearing scheduled for November 23, 2020 is adjourned to
February 4, 2021 at 10:00 a.m. The Defendant's sentencing submissions are due no later than
January 21, 2021; the Government's sentencing submissions are due no later than January 28, 2021.
The Clerk of Court is directed to terminate the motion pending at Dkt. No. 106.

SO ORDERED.

Dated: November 9, 2020              _____________________________________
New York, New York                         GREGORY H. WOODS
                                          United States District Judge
